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DATE109/07/2018 04122120 PM
HARVEY RU\/lN, CLERK OF COURT, M|A-DADE CT¥

DEPARTM:ENT CF JUSTICE

NOTICE OF LIEN FOR

FINE AND/OR

RESTITUTION Il\/H’OSED

PURSUANT TO THE

ANTI~TERRORISMAND

EFFECTIVE DEATH PENALTY

ACT OF 1996

United States Attorney’s Office

SOUTHERN DISTRICT OF FLORIDA

Notice is hereby given of a lien against the property of the defendant named below. Pursuant to Title

18, United States Code, Section 3613(0), a fine or an order of restitution imposed pursuant to the

provisions of sub chapter C of chapter 227 is a lien in favor of the United States upon all property

belonging to the person fined or ordered to pay restitution Pursuant to § 3613(d) a notice of lien shall

be considered a notice of lien for taxes for the purposes of any State or local law providing t`or the filing of a
tax lien. The lien arises at the time of the entry of judgment and continues until the liability is satisfied,
remitted, or set aside, or until it becomes unenforceable pursuant to § 3613(b).

Name of Defendant: Mariela Roman a/lc/a Man`ela Del Carrnen Rornan~Febres

Social Sec. #: _
Year of Birth: 1963

Amount of Assessment\Fine\Restitution: $2,353,737.03
Court Imposing Judgment: U.S. I)ISTRICT COURT, SDFL
Court Nurnber: 15-20691-CR-MGC

Date of Judgment: June 1, 2016

"'PLUS STATUTORY INTEREST *

If payment becomes past due, possible penalties totaling 25 percent of the principal amount past due
may arise. 18 U.S.C. § 3612(g).

IMPORTANT RELEASE INFORMATION--With respect to the lien listed above, this notice shall
operate as a certificate of release pursuant to 18 U.S.C. § 3613(b) by operation of laW.

Place of `Filing: MIAMI-DADE COUNTY, FL .
This notice was prepared at MIAMI, FLORIDA on this, the day of M, 2018.

Signature ` This Instrument Prepared

By: F. Broadhurst

U.S. Attorney’s Office

Financial Litigation Unit

99 N.E. 4th Street

A i ant U.S. Attorney Miami, Florida 33132
(305) 961»9346

 

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